 

Case 1:21-cv-10596-IT Document 18 Filed 06/17/21 Page 1 of 12

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

CIVIL ACTION NO. 1:21-cv-10596-IT

 

TRICIA THOMAS
Plaintiff,

Vv.

)
)
)
)
)
)
CITY OF BOSTON, )
BOSTON POLICE DEPT., )
OFFICER MARTIN J. HEDDERMAN, Individually )
and as employee of BOSTON POLICE DEPT., )
OFFICER BRENDAN E. CAVANAUGH, Individually )
and as employee of BOSTON POLICE DEPT., )
LIEUTENANT SEAN P. SMITH, Individually )
and as employee of BOSTON POLICE DEPT., )

Defendants. )

 

PLAINTIFF’S MOTION IN OPPOSITION TO DEFENDANT’S MOTION TO DISMISS
PLAINTIFF’S SUBSTITUTE COMPLAINT

NOW COMES the Plaintiff, Tricia Thomas (hereinafter “Plaintiff’), requesting that this
court deny the Defendant’s Motion to Dismiss Plaintiffs Substitute Complaint pursuant to Fed.
R. Civ. P. 12(6)(6). The Plaintiff has sufficiently alleged a Monell claim with respect to 42
U.S.C. § 1983 and has provided enough evidence to support a negligent infliction of emotional
distress (NIED) cause of action in both her complaint and letter of presentment. Furthermore,
the Plaintiff has appropriately drafted her letter of presentment to support Counts VIII and IX of
her Complaint.

I. FACTS AND BACKGROUND

The Plaintiff, Tricia Thomas, is a single mother who owns a dwelling at 15 Centerville

Park, Boston, MA. PI.’s Sub. Compl. § 11. On Mother’s Day of 2018 (May 13), she called the

police to report a disturbance caused by her brother who was trying to gain unwanted access to

 
 

Case 1:21-cv-10596-IT Document 18 Filed 06/17/21 Page 2 of 12

her unit. Id. at 9] 11, 13. Officers Hedderman and Cavanaugh arrived and began to make
racially prejudicial comments to Ms. Thomas, such as: “You don’t own no house,” and “How
you own this house?” Id. at J 14.

Later in the day, Ms. Thomas’s sister and brother-in-law attempted to gain unwanted
access to Ms. Thomas’s unit, threatening her with grave physical harm if she failed to do so. Id.
at 15. Despite Ms. Thomas’s rejection of their entry due to feelings of imminent danger that
they imposed, Ms. Thomas’s sister phoned the police and lied, stating that there was a “black
woman on the porch with a gun.” Pl.’s Sub. Compl. § 16. Officers Hedderman and Cavanaugh
returned to the dwelling and immediately pushed her through the front door. Id. at 417. After
this they carried her outside, placed her face down, and handcuffed her in front of her two minor
sons on Mother’s Day. Id. at J 20.

The incident was captured on video and shows the officers acting with excessive force
and arresting Ms. Thomas on a charge of elder abuse without probable cause. Id. at J] 18, 22.
The officers did so after phoning Sergeant Smith who advised them to arrest her on that charge.
Pl.’s Sub. Compl. §/ 21-22. Ms. Thomas was not read her Miranda rights at any point in time.
Id. at | 24. The use of excessive force continued when she was brought to the C-11 precinct and
placed in a cell where the officers ripped beads and hair out of her head, broke her gold bracelet
and caused bruising to her wrist and ankles. Id. at ] 24, 26. The officers again contacted
Sergeant Smith when it was time to process Ms. Thomas. Id. at ] 25. After placing her back in
her cell the officers deliberated on what she was to be charged with, demonstrating little
knowledge on what was relevant to a charge of elder abuse. Id.

Ms. Thomas was denied a phone call to an attorney, an attorney was denied access to her,

and bail was set for $3,000. Id. at | 27. Her hands were shackled as she was transferred from C-

 
 

Case 1:21-cv-10596-IT Document 18 Filed 06/17/21 Page 3 of 12

11 to South Boston, and then from South Boston to Dorchester Court by paddy wagon in the
morning. Id. While she was set to be arraigned, authorities became aware of the video of her
arrest and so the arraignment was postponed for two weeks. Id. She was released from custody
but told to stay away from the home she lived in with her two minor sons for the two weeks until
the arraignment. PI.’s Sub. Compl. 28. On the date of arraignment, the video was played and
the district attorney and judge concluded that Ms. Thomas could not be arraigned on any of the
filed charges. Id.

Ms. Thomas’s quality of life has declined since the incident of brutality at the hands of
the Boston Police. Id. at ] 29. She entered therapy for treatment of her post-traumatic stress
syndrome shortly after and continues to receive treatment to this day. Id. Asa registered nurse,
Ms. Thomas’s personal and professional reputation has seriously declined as a result of the
incident. Pl.’s Sub. Compl. § 23. She and her children suffer from constant fear of the police
and no longer feel safe in their home. Id. at ¥ 30.

Ms. Thomas seeks compensatory damages, punitive damages, and legal costs from
Defendants for discrimination and violation of 42 U.S.C. § 1983, assault and battery, intentional
infliction of emotional distress (IIED), NIED, false arrest, false imprisonment, and negligent
training and/or supervision. Id. at J 61.

Il. STANDARD OF REVIEW

An affirmed principle of Massachusetts law is that the court must accept as true the
allegations in the complaint and any inferences that may be drawn in the plaintiff's favor. Eyal
v. Helen Broad. Corp., 411 Mass. 426, 429 (1991). So long as those facts and inferences drawn
in favor of the plaintiff “plausibly suggest an entitlement to relief,” the court must deny a motion

to dismiss. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). Here, the Plaintiff has

 
 

Case 1:21-cv-10596-IT Document 18 Filed 06/17/21 Page 4 of 12

provided more than mere labels and conclusions or a formulaic recitation of the elements. Id. at

545. Furthermore, the Defendants have failed to show that the Plaintiff cannot prove any set of

facts that would entitle her to the relief requested in her Substitute Complaint. Iannacchino v.

Ford Motor Co., 451 Mass. 623, 636 (2008).

Ill. ARGUMENT |

A. Count I of Plaintiffs Complaint Successfully Alleges a Monell Claim Based on the
Single Decision of a Final Policymakerand His Ratification of a Subordinate’s

Unconstitutional Action

With regards to the Boston Police Department’s liability, as per Monell v. Department of
Social Services of the City of New York, 436 U.S. 658, 694 (1978) a local government may be
sued under § 1983 “when execution of a government’s policy or custom . . . inflicts the injury
that the government as an entity is responsible under § 1983.” Such an official policy:

[M]ay take the form of (1) “a formal regulation or policy statement”; (2) an

informal custom “amounting to a ‘widespread practice that, although not

authorized by written law or express municipal policy, is so permanent and well

settled as to constitute a custom or usage with the force of law’”; (3) “the

decisions of employees with final policymaking authority”; (4) “the ratification by

such final policymakers of the decisions — and the basis for them — of

subordinates to whom authority was delegated subject to these policymakers’

review and approval”; or (5) the “failure to adequately train or supervise

employees, so long as that failure results from ‘deliberate indifference’ to the

injuries that may be caused,”

 
Case 1:21-cv-10596-IT Document 18 Filed 06/17/21 Page 5 of 12

City of St. Louis v. Praprotnik, 485 U.S. 112, 127 (1988) and City of Canton, Ohio v.
Harris, 489 U.S. 378, 388-91 (1989). An important point to state here is that the
municipality can be liable whether the “policy” established by the final decisionmaker is
a single event or action. Pembaur v. City of Cincinnati, 475 U.S. 469, 480-81 (1986).
With respect to the Plaintiffs case, the third and fourth theories listed above are most
applicable. Regarding the elements that the Plaintiff must demonstrate to show liability
under those two “final policymaking” theories, the United States Supreme Court
emphasized them in Praprotnik after they were handed down by Justice Brennan in

Pembaur

First, “municipalities may be held liable under § 1983 only for acts for which the
municipality itself is actually responsible, ‘that is, acts which the municipality has
officially sanctioned or ordered.” Praprotnik, 485 U.S. at 123. Here, Sergeant Smith
gave an order to Officers Hedderman and Cavanaugh to arrest and charge the Plaintiff
with elder abuse without probable cause for the crime, or any crime for that matter. Pl.’s
Sub. Compl. { 32. Since the sergeant is an employee of the government superior to the
officers, it is clear that the actions toward the Plaintiff were officially sanctioned. There
was no evidence that the officers knew the elements of the crime of elder abuse and even
deliberated over what to charge her with while at the precinct. Pl.’s Sub. Compl. 9 25.
This is further evidence that such acts were officially ordered.

“Second, only those municipal officials who have ‘final policymaking authority’
may by their actions subject the government to § 1983 liability. Id. The determination of
whether an individual is a final policymaker involves a demonstration that “a deliberate

choice to follow a course of action [was] made from among various alternatives by the

 
Case 1:21-cv-10596-IT Document 18 Filed 06/17/21 Page 6 of 12

official or officials responsible for establishing the final policy with respect to the subject
matter in question.” Pembaur, 475 U.S. at 483. Here, Sergeant Smith had the option of
advising his officers to simply defuse the situation and to not arrest Ms. Thomas since
they did not witness her commit a crime and had no probable cause to believe she had
previously committed a crime. Instead, he made the deliberate choice to break the law
and violate her constitutional rights under the Fourth Amendment.

“Third, whether a particular official has a ‘final policymaking authority’ is a
question of state law.” Id. “Courts must look to state law, including ‘valid local
ordinances and regulations,’ for descriptions of the duties and obligations of putative
policymakers in the relevant area at issue.” Walden v. City of Providence, 596 F.3d 38,
56 (1st Cir. 2010) (quoting Praprotnik, 485 U.S. at 125.) In this case, the applicable
regulations would be the Boston Police Department Rules and Procedures which outline
the duties of sergeants among other positions in the department. Sergeant Smith had
“final policymaking authority” in the area of supervising and sanctioning arrests, which
he obtained from Rule 104, § 3 of the Boston Police Department Rules and Procedures,
stating that a sergeant “[i]nterprets and explains law and administrative orders to
subordinates and ensures their compliance . . . [e]nsures that subordinates operate within
the law by requiring that they protect the rights of complainants, arrested persons, and
criminal suspects.”

“Fourth, the challenged action must have been taken pursuant to a policy adopted
by the official or officials responsible under state law for making policy in that area of
the city’s business.” Id. “Where a policymaking official exhibits deliberate indifference

to constitutional deprivations caused by subordinates, such that the official’s inaction
 

Case 1:21-cv-10596-IT Document 18 Filed 06/17/21 Page 7 of 12

constitutes a ‘deliberate choice,’ that acquiescence may ‘be properly thought of as a city
“policy or custom” that is actionable under § 1983.’” City of Canton v. Harris, 489 U.S.
378, 388 (1989). Sergeant Smith was deliberately indifferent to the unconstitutional
actions of his subordinates when he explicitly approved of the arrest of the Plaintiff for
elder abuse without probable cause as to that crime. Pl.’s Sub. Compl. 4 18, 21-22.

Thus, the Boston Police Department is liable under the Monell theory for the
violations of the Plaintiffs Fourth Amendment rights because of the single decision of
Sergeant Smith to ratify Officers Hedderman and Cavanaugh’s arrest absent probable
cause.
B. Plaintiff Has Alleged Sufficient Facts to Establish a Claim for NIED Against the
City in Count 4 of the Complaint

The actions of Officers Hedderman and Cavanaugh do not fall within the required
criteria for a § 10(b) exception to the Massachusetts Tort Claims Act. “The first step in
deciding whether a plaintiffs claim is foreclosed by the discretionary function exception
of § 10(b) is to determine whether the governmental actor had any discretion at all as to
what course of conduct to follow.” Harry Stoller and Co. v. City of Lowell, 412 Mass.
139, 141 (1992). “The second . . . step is to determine whether the discretion that the
actor had is that kind of discretion for which § 10(b) provides immunity from liability.”
Id. As stated in Whitney v. Worcester, not all acts that require the exercise of judgment
automatically acquire governmental immunity because “the performance of all functions
involves the exercise of discretion and judgment to some degree.” 373 Mass. 208, 219

(1977). Moreover, “discretionary actions and decisions that warrant immunity must be

 
 

Case 1:21-cv-10596-IT Document 18 Filed 06/17/21 Page 8 of 12

based on considerations of public policy.” United States v. Gaubert, 499 U.S. 315,323
(1991),

In this case, the first step of the test is not met because the officers did not have any
considerable discretion as to their course of action. Harry Stoller and Co., 412 Mass. at
142. Plaintiff's case is similar to Irwin v. Ware, where the Massachusetts Supreme
Judicial Court held that a police officer was not engaging in a discretionary function
when deciding whether to arrest an intoxicated motorist because it had already been
decided by the legislature. 392 Mass. 745, 753 (1984). Here, the officers were engaging
in a non-discretionary activity, as the officer in Irwin was, because they should have been
relying on guidelines set forth by the police department and legislature on how to respond
to an emergency and execute an arrest. This includes elements of a constitutional arrest
such as the reading of Miranda rights, which were absent in the Plaintiff's arrest. A lack
of discretion available to Officers Hedderman and Cavanaugh is further demonstrated by
the fact that they called Sergeant Smith to determine how they were to deal with the
Plaintiff.

As for the second prong of the test, the officers were not engaging in a policymaking
or planning activity and so their actions do not fall under the § 10(b) exception. Harry
Stoller and Co., 412 Mass. at 142. Defendants cite Sena v. Commonwealth as supporting
their argument that the actions of the officers were discretionary functions. 417 Mass.
250 (1994). However, their argument fails because they have incorrectly applied the case
by failing to consider the footnote to their quoted passage. Although Sena does state that
investigating potentially criminal activity and seeking arrest warrants may be

discretionary, it also recognizes that some aspects of the investigatory process are not

 
 

Case 1:21-cv-10596-IT Document 18 Filed 06/17/21 Page 9 of 12

included in the discretionary function exception. Sena, 417 Mass. at 256 n.5. “For
example, where the conduct of a defendant police officer in investigating a crime or in
seeking a warrant violates officially established departmental procedures, that conduct
likely would not be protected.” Id. Here, Officers Hedderman and Cavanaugh made
racially insinuating comments to the Plaintiff, ripped beads and hair out of her head,
broke her gold bracelet, and bruised her wrist and ankles by using excessive force. Pl.’s
Sub. Compl. § 24, 26. In addition to the failure to read the Plaintiff her Miranda rights,
they carried out the arrest absent probable cause for the crime of elder abuse. Id. at J 24.
Such actions certainly violate Boston Police Department investigatory and custodial
procedures.

Although mental distress on its own is insufficient for a showing of NIED, there has
been a broadening of the physical manifestation requirement to the tort. In Sullivan v.
Boston Gas Co., the Massachusetts Supreme Judicial Court expanded the scope of
physical symptoms indicating objective evidence of emotional distress. 414 Mass. 129,
139-40 (1993), This was in response to the District of Massachusetts’ holding in
Anderson v. W.R. Grace & Co. that physical damage caused by the NIED such as
headaches and diarrhea, need not be “immediately apparent.” 628 F.Supp. 1219, 1227
(D. Mass. 1986). Although medical testimony is required to make a showing, the
medical expert “need not have observed an actual external sign of physical deterioration.”
Sullivan, 414 Mass. at 138. Here, the Plaintiff has been dealing with physical symptoms
as a result of her diagnosis of post-traumatic stress disorder that she continues to seek the
aid of professional therapy for. PI.’s Sub. Compl. 29.

C. Plaintiff Has Presented Her Claims Contained in Counts 8 and 9 in Accordance

 
Case 1:21-cv-10596-IT Document 18 Filed 06/17/21 Page 10 of 12

with M.G.L. c. 258, § 4 as per the Gilmore Test

Under M.G.L. c. 258, § 4, a claimant must present its claim in writing to the
executive officer of a public employer within two years after the date upon which the
cause of action arose. Furthermore, the presentment must occur “in strict compliance
with the statute. Weaver v. Commonwealth, 387 Mass. 43, 47 (1985). However, such
compliance is more concerned with “whether presentment has been made to the proper
executive officer (proper party notice) ina timely fashion (timeliness) than with the
content of the presentment (adequacy of content). Martin v. Commonwealth, 53 Mass.
App. Ct. 526, 529 (2002). Nevertheless, Gilmore v. Commonwealth outlines the test for
the sufficiency of the content of a presentment letter, stating that “‘a presentment letter
should be precise in identifying the legal basis of a plaintiffs claim’ “and must” ‘not [be]
so obscure that educated public officials . . . find themselves baffled or misled with
respect to [whether] a claim’ “is being asserted” ‘which constitutes a proper subject for
suit’ “under G.L. c. 258.” Id. (quoting 417 Mass. 718, 723 (1994)). In addition, “the
presentment requirement is not intended to demand such rigid particularization as to
reincarnate sovereign immunity and bar legitimate claims for failing to invoke perfectly
the correct ‘Open Sesame.’” Vasys v, Metro. Dist. Comm’n., 387 Mass. 51, 57 (1982).

In Holden v. Barry, the plaintiff was permitted to proceed against the defendant
on the NJED and negligence claims because: the complaint alleged negligence,
negligence could be “inferred by an educated public official,” and the presentment letter
was “not misleading.” 501 F.Supp.3d 11, 17 (D. Mass. 2020). Like in Holden, here the
Plaintiff's letter of presentment was timely filed and was very detailed, outlining a

statement of the facts sufficient for the police commissioner to be able to infer a general

10

 

 
 

Case 1:21-cv-10596-IT Document 18 Filed 06/17/21 Page 11 of 12

claim of negligence. See generally P1.’s Present. Letter. Moreover, the fact that the letter
states that damages are “not limited to” the six causes of action that it goes on to list, is
also sufficient evidence of the capacity for an inference of negligence. Id. at 73.
IV. CONCLUSION

With respect to the preceding arguments, the Plaintiff, Ms. Tricia Thomas,
requests that this Honorable Court deny the Defendant’s motion to dismiss the claims

averred in Plaintiff's Substitute Complaint.

Plaintiff,
Tricia Thomas

By her Attorneys,
Cohen Law Group

| l.. aiCA, a

Herbert S. Cohen

a BBO# 089180
Cohen Law Group

500 Commercial Street, #4r
Boston, MA 02109
617-523-4552
hscohenlaw@gmail.com

11

 
 

Case 1:21-cv-10596-IT Document 18 Filed 06/17/21 Page 12 of 12

CERTIFICATE OF SERVICE
I hereby certify that this document filed through the CM/ECF system will be sent

electronically to the registered participants as identified in the Notice of Electronic Filing
and paper copies will be sent to those indicated as non-registered participants on June

LZ 2021,
be | / ZA hs) Her ber tr. Cohen

Date Herbert S. Cohen

12

 
